                                                                                                                         E-FILED IN OFFICE - EP
                 Case 1:22-cv-02328-AT Document 1-1 Filed 06/10/22 Page 1 of 35                                        CLERK OF STATE COURT
                                                                                                                   GWINNETT COUNTY, GEORGIA
                                                                                                                                  22-C-01252-S2
                                                                                                                               3/1/2022 3:37 PM
                                                                                                                        TIANA P. GARNER, CLERK

                            IN THE STATE COURT OF GWINNETT COUNTY

                                                  STATE OF GEORGIA

                                                                      CIVIL ACTION            22-C-01252-S2
Anthony Hannah                                                        NUMBER
c/o Fried Goldberg LLC
3550 Lenox Road, N.E., Suite 1500
Atlanta, Georgia 30326-4302
                                            PLAINTIFF
                          VS.
Robin Mackie
4457 Lumley Street
Detroit, MI 48210
                                         DEFENDANT


                                                           SUMMONS
TO THE ABOVE NAMED DEFENDANT:

You are hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiff’s attorney, whose name
and address is:

                                                Eric J. D. Rogers, Esquire
                                                   Fried Goldberg LLC
                                            3550 Lenox Road, N.E., Suite 1500
                                               Atlanta, Georgia 30326-4302
                                                       404-591-1800
an answer to the complaint which is herewith served on you, within 30 days after service of this summons upon you, exclusive
of the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the
complaint.       1st day of March, 2022
This               day of                                , 20     .
                                                                  Tiana P. Garner
                                                                  Clerk of State Court


                                                                  BY
                                                                                                                       Deputy Clerk

INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.




                                                 Exhibit "A"
                                                                                                                         E-FILED IN OFFICE - EP
                 Case 1:22-cv-02328-AT Document 1-1 Filed 06/10/22 Page 2 of 35                                        CLERK OF STATE COURT
                                                                                                                   GWINNETT COUNTY, GEORGIA
                                                                                                                                  22-C-01252-S2
                                                                                                                               3/1/2022 3:37 PM
                                                                                                                        TIANA P. GARNER, CLERK

                            IN THE STATE COURT OF GWINNETT COUNTY

                                                  STATE OF GEORGIA
                                                                                                  22-C-01252-S2
                                                                      CIVIL ACTION
Anthony Hannah                                                        NUMBER
c/o Fried Goldberg LLC
3550 Lenox Road, N.E., Suite 1500
Atlanta, Georgia 30326-4302
                                            PLAINTIFF
                          VS.
National Specialty Insurance Company
c/o CT Corporation System
289 Culver Street
Lawrenceville, GA 30046
                                DEFENDANT


                                                           SUMMONS
TO THE ABOVE NAMED DEFENDANT:

You are hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiff’s attorney, whose name
and address is:

                                                Eric J. D. Rogers, Esquire
                                                   Fried Goldberg LLC
                                            3550 Lenox Road, N.E., Suite 1500
                                               Atlanta, Georgia 30326-4302
                                                       404-591-1800
an answer to the complaint which is herewith served on you, within 30 days after service of this summons upon you, exclusive
of the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the
complaint.      1st day of March, 2022
This               day of                                , 20     .
                                                                      Tiana P. Garner
                                                                  Clerk of State Court


                                                                  BY
                                                                                                                       Deputy Clerk

INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.
                                                                                                                         E-FILED IN OFFICE - EP
                 Case 1:22-cv-02328-AT Document 1-1 Filed 06/10/22 Page 3 of 35                                        CLERK OF STATE COURT
                                                                                                                   GWINNETT COUNTY, GEORGIA
                                                                                                                                  22-C-01252-S2
                                                                                                                               3/1/2022 3:37 PM
                                                                                                                        TIANA P. GARNER, CLERK

                            IN THE STATE COURT OF GWINNETT COUNTY

                                                  STATE OF GEORGIA

                                                                      CIVIL ACTION             22-C-01252-S2
Anthony Hannah                                                        NUMBER
c/o Fried Goldberg LLC
3550 Lenox Road, N.E., Suite 1500
Atlanta, Georgia 30326-4302
                                            PLAINTIFF
                          VS.
King Logistics Inc.
c/o The Financial Integrity Group
410 E. Taylor Street, Suite G
Griffin, GA 30223
                                         DEFENDANT


                                                           SUMMONS
TO THE ABOVE NAMED DEFENDANT:

You are hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiff’s attorney, whose name
and address is:

                                                Eric J. D. Rogers, Esquire
                                                   Fried Goldberg LLC
                                            3550 Lenox Road, N.E., Suite 1500
                                               Atlanta, Georgia 30326-4302
                                                       404-591-1800
an answer to the complaint which is herewith served on you, within 30 days after service of this summons upon you, exclusive
of the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the
complaint.      1st day of March, 2022

This               day of                                , 20     .
                                                                   Tiana P. Garner
                                                                  Clerk of State Court


                                                                  BY
                                                                                                                       Deputy Clerk

INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.
Case 1:22-cv-02328-AT Document 1-1 Filed 06/10/22 Page 4 of 35
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Case 1:22-cv-02328-AT Document 1-1 Filed 06/10/22 Page 6 of 35
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Case 1:22-cv-02328-AT Document 1-1 Filed 06/10/22 Page 12 of 35
Case 1:22-cv-02328-AT Document 1-1 Filed 06/10/22 Page 13 of 35
Case 1:22-cv-02328-AT Document 1-1 Filed 06/10/22 Page 14 of 35
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Case 1:22-cv-02328-AT Document 1-1 Filed 06/10/22 Page 23 of 35
Case 1:22-cv-02328-AT Document 1-1 Filed 06/10/22 Page 24 of 35
Case 1:22-cv-02328-AT Document 1-1 Filed 06/10/22 Page 25 of 35
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                                                                                                           Joseph A. Fried
                                                                                                      Michael L. Goldberg
                                                                                                      Bradford W. Thomas
                                                                                                            Brian T. Mohs
TANYA A. PEETE                                                                                            Eric J. D. Rogers
PARALEGAL
DIRECT DIAL: 404-591-1823                                                                             Briant G. Mildenhall
DIRECT FAX: 404-591-1801
                                                         May 25, 2022
                                                                                                        Nathan A. Gaffney
E-MAIL: Eric@friedgoldberg.com
E-MAIL: Tanya@friedgoldberg.com                                                                            Adam P. Smith

    Sent Via Facsimile: (775) 684-4899
    Sent Via Certified Mail Return Receipt Requested
    Nevada Department of Motor Vehicle
    Records Section
    555 Wright Way
    Carson City, NV 89711-0250

             Re:      Driver :           Robin Mackie
                      DL No.:            NV 2103656536
                      DOB:               6/3/1957

    Dear Sirs or Madam:

            Our firm represents Anthony Hannah who was injured as a result of an automobile collision
    involving Robin Mackie. At this time, we wish to request a complete driving history for ROBIN
    MACKIE. I have enclosed a subpoena requiring you to produce a certified copy of his driving
    record on June 24, 2022. Our firm check in the amount of $12.00 is enclosed herein for charges
    related to this request.

           Thank you in advance for your assistance. Please contact me at the number above should
    you require any further information.

                                                            Sincerely,
                                                            FRIED GOLDBERG LLC



                                                            Tanya Peete
                                                            Paralegal
    :tap
    Enclosures
    cc:    All Counsel of Record (w/encls)




    Three Alliance Center | 3550 Lenox Road, N.E. | Suite 1500 | Atlanta, Georgia 30326-4302 | 404.591.1800 | Fax 404.591.1801
                                    www.friedgoldberg.com | www.thetruckingattorneys.com
                                                                1
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                    IN THE STATE COURT OF GWINNETT COUNTY
                               STATE OF GEORGIA

 ANTHONY HANNAH,

                              Plaintiff,
                                                             JURY TRIAL DEMANDED
 vs.

 KING LOGISTICS INC., NATIONAL                               CIVIL ACTION
 SPECIALTY INSURANCE COMPANY, and                            FILE NO.: 22-C-01252-S2
 ROBIN MACKIE,

                              Defendants.

           SUBPOENA FOR PRODUCTION OF DOCUMENTARY EVIDENCE

TO:    NEVADA DEPARTMENT OF DRIVERS’ SERVICES
       Central Services Records Division
       555 Wright Way
       Carson City, NV 89711-0250

       YOU ARE HEREBY COMMANDED, that laying all other business aside you be and
appear at Fried Goldberg LLC, 3550 Lenox Road, N.E., Suite 1500, Atlanta, GA 30326 at 10:00
a.m. on June 24, 2022, and to produce into said court certain documents: a CERTIFIED COPY
of the complete driving history for ROBIN MACKIE (DL #2103656536 and DOB: 6/3/1957)
to be used as evidence by the Plaintiff in the above styled case.
       HEREIN FAIL NOT, under the penalty of the law by the Presiding Judge of said Court,
this 25th day of May, 2022.

                                                  If you have any questions, contact


                                                  Eric J.D. Rogers
                                                  Georgia Bar Number 100081
                                                  Attorney for Plaintiff

Eric J.D. Rogers, Esquire
Fried Goldberg LLC
3550 Lenox Road, N.E., Suite 1500
Atlanta, Georgia 30326-4275
Telephone: 404-591-1800
        Case 1:22-cv-02328-AT Document 1-1 Filed 06/10/22 Page 31 of 35




                                CERTIFICATE OF SERVICE

       I hereby certify that I have this day served a copy of the within and foregoing Subpoena

for Production of Documentary Evidence upon all parties to this matter by depositing a true and

correct copy of same in the United States mail, proper postage prepaid, properly addressed to the

following:


                                Jonathan M. Adelman, Esq.
                                  Brian F. Williams, Esq.
                             WALDON ADELMAN CASTILLA
                                 HIESTAND & PROUT
                                  900 Circle 75 Parkway
                                         Suite 1040
                                  Atlanta, Georgia 30339
                                  jadelman@wachp.com
                                  bwilliams@wachp.com

                                    Attorneys for Defendant

       Dated on May 25, 2022.

                                                FRIED GOLDBERG LLC



                                                Eric J.D. Rogers
                                                Georgia State Bar Number: 100081

THREE ALLIANCE CENTER
3550 LENOX ROAD, N.E., SUITE 1500
ATLANTA, GEORGIA 30326
TELEPHONE: 404-591-1800
Email: michael@friedgoldberg.com
Email: eric@friedgoldberg.com
              Case 1:22-cv-02328-AT Document 1-1 Filed 06/10/22 Page 32 of 35



                                                                                                             Joseph A. Fried
                                                                                                         Michael L. Goldberg
                                                                                                        Bradford W. Thomas
                                                                                                              Brian T. Mohs
TANYA A. PEETE
                                                                                                            Eric J. D. Rogers
PARALEGAL                                                                                               Briant G. Mildenhall
DIRECT DIAL: 404-591-1823
DIRECT FAX: 404-591-1801
                                                           May 25, 2022                                   Nathan A. Gaffney
E-MAIL: Eric@friedgoldberg.com                                                                                 Adam P. Smith
E-MAIL: Tanya@friedgoldberg.com


    Sent Via Electronic Mail: gldc@att.com
    Sent Via Certified Mail Return Receipt Requested
    New Cingular Wireless (AT&T)
    Subpoena Compliance Center
    11760 US Highway 1, Ste. 600
    North Palm Beach FL 33408

                      Re:      Anthony Hannah v. King Logistics Inc., National Specialty Insurance
                               Company, and Robin Mackie
                               State Court of Gwinnett County; Civil Action File No.: 22-C-01252-
                               S2
    Dear Sirs or Madam:

           Our firm represents Anthony Hannah as it relates to a motor vehicle collision which occurred on
    March 25, 2021 in Gordon County, Georgia. At this time, we wish to request the following records:

                      A CERTIFIED COPY of the call history, text message detail and data
                      usage history (SEE ATTACHMENT A) showing the dates and times
                      of all calls and text messages placed and received for cell phone
                      number 313-421-9692 from 12:00 A.M. March 25, 2021 through 11:59
                      P.M. March 25, 2021.

           I have enclosed a subpoena requiring you to produce a certified copy of the requested records by
    June 24, 2022. Thank you in advance for your assistance. Please contact me at the number above should
    you require any further information.

                                                            Sincerely,
                                                            FRIED GOLDBERG LLC


                                                            Tanya Peete
                                                            Paralegal
    EJDR:tap
    Enclosures
    cc:    All Counsel of Record (w/encls)



    Three Alliance Center | 3550 Lenox Road, N.E. | Suite 1500 | Atlanta, Georgia 30326-4302 | 404.591.1800 | Fax 404.591.1801
                                    www.friedgoldberg.com | www.thetruckingattorneys.com
                                                                1
         Case 1:22-cv-02328-AT Document 1-1 Filed 06/10/22 Page 33 of 35




                    IN THE STATE COURT OF GWINNETT COUNTY
                               STATE OF GEORGIA

 ANTHONY HANNAH,

                              Plaintiff,
                                                              JURY TRIAL DEMANDED
 vs.

 KING LOGISTICS INC., NATIONAL                                CIVIL ACTION
 SPECIALTY INSURANCE COMPANY, and                             FILE NO.: 22-C-01252-S2
 ROBIN MACKIE,

                              Defendants.


           SUBPOENA FOR PRODUCTION OF DOCUMENTARY EVIDENCE

TO:    New Cingular Wireless (AT&T)
       ATTN: Subpoena Compliance Center
       11760 US Highway 1, Suite 600
       North Palm Beach, Florida 33408

       Cell Phone Number :                 (313) 421-9692

       YOU ARE HEREBY COMMANDED, that laying all other business aside you be and
appear at Fried Goldberg LLC, 3550 Lenox Road, N.E., Suite 1500, Atlanta, GA 30326 at 10:00
a.m. on June 18, 2022, and to produce into said court certain documents: a certified copy of the
requested documents in "Attachment A" for cell phone number (313) 421-9692 for the
timeframe of 12:00 A.M. March 25, 2021 through 11:59 P.M. March 25, 2021 to be used as
evidence by the Plaintiff in the above styled case.
       HEREIN FAIL NOT, under the penalty of the law by the Presiding Judge of said Court,
this 25th day of May, 2022.
                                                  /s/ Eric J.D. Rogers
                                                 ERIC J.D. ROGERS
If you have any questions, contact               Georgia Bar Number 100081
Attorney for Plaintiff
Eric J.D. Rogers, Esquire
Fried Goldberg LLC
3550 Lenox Road, N.E., Suite 1500
Atlanta, Georgia 30326
Telephone: 404-591-1800
    Case 1:22-cv-02328-AT Document 1-1 Filed 06/10/22 Page 34 of 35




                                    ATTACHMENT A

1. All call and communication detail records (CDRs) with time zones, including roaming
   activity, along with ALL available location data for all currently held information on
   phone calls, text messages (SMS messages), data transaction history, multimedia
   messages (MMS), user data, and network-initiated data/signaling/network operation
   data transactions (including bytes transferred up and down), all Wi-Fi calling and
   VoLTE (voice over long term evolution data), and, any available registration data,
   network-operation data transactions, et cetera
2. Regarding all available location data: Provide ALL available historical location
   information [cell site sector beginning, interim, ending, and, ranging data [i.e., range to
   tower/real time tool (RTT), reveal data, per call measurement data (PCMD), timing
   advance, network element location system (NELOS)/historical precise location
   information data/geolocation data (i.e., estimated historical location estimates of cellular
   devices), etc.] along with all detailed cell site lists for the appropriate periods of target
   device usage, including specific cell site identifiers such as LACs (location area codes) and
   CIDs (cellular identifiers), eNodeBs (outdoor LTE infrastructure equipment), switch
   names and cell site numbers, repoll numbers, network element identifiers (NEIDs), repolls,
   network extenders [including MAC (media access control)] addresses, addresses/latitudes
   and longitudes of installation, IP address logs, dates and times of use (with time zones),
   etc., distributed array system (DAS) sites, pico cell sites, nano cell sites, mobile cell sites
   [i.e., cell sites on wheels (COWs)], etc., along with, latitudes and longitudes,
   azimuths/orientations/faces, beamwidths, unique cell/sector and network maintenance
   records (i.e., specific dates and times of use), etc. for ALL involved cell site switches (not
   just the cell sites/sectors used by the device, but to include ALL cell sites in the involved
   switches). Also provide all stored location histories and navigation-based records [i.e.,
   Google location history, Google Maps directions, addresses, location search queries,
   latitudes and longitudes, labels of locations (i.e., home, work, etc.), IP logs, etc.
3. Additional-Related Historical Records: Provide all IP-based addressing and routing
   information for all messages held by any entity related to the use of text messaging or
   text messaging-like services and email services (i.e., Apple’s iMessage, AT&T Messages,
   Google’s Gmail, Apple’s iCloud, etc.) held by any entity including all IP logs with source
         Case 1:22-cv-02328-AT Document 1-1 Filed 06/10/22 Page 35 of 35




        and destination IPs, data transferred (i.e., bytes up/down), MAC addresses of involved
        equipment, with port information, if available. Also provide all smartphone device dates
        of service, unique identifiers (i.e., Apple’s UDIDs, Android Unique Device ID), IP-access
        logs for accessing Apple, Google, Skyhook Wireless, etc. Also provide ALL smartphone
        applications installed, updated, and/or uninstalled on the target account/device for the
        designated periods including application names, version numbers, payment info (i.e., if
        charged, method of payment), etc. And, provide any smartphone application purchase
        information including purchases of music, videos, services, etc. (i.e., Google Play, Apple
        iTunes, etc.).
    4. Stored Electronic Communications               Content:     Provide ALL         stored    electronic
        communications for the target number/account and any associated email address (i.e.,
        Google Gmail email account, Apple iCloud email account, etc.) for the target periods of
        time. This is to include all stored voicemail content, text message content (including any
        messages in cue waiting to be delivered), email content (including subject line), and, any
        other stored electronic communications such as pictures, videos, audio recordings, and/or,
        chat applications/functions messaging. Also provide all available search histories, i.e.,
        Google’s specific-account search histories including dates and times of searches, IP
        addresses of service access, terms searched, and, any available related information.
    5. Instructions/Legends: Also provide any available interpretive documents, instructions,
        or legends, as well as assistance, to aid in the interpretation of ALL provided data.
    6. Closing Requests: Provide all requested data as in original electronic format, via email at
        the address of eric@friedgoldberg.com and tanya@friedgoldberg.com if possible. Please
        provide the requested data in a digital hard copy.
    7. Fees: If fees are accrued in complying with this request, the requesting party will pay
        those fees. Please contact Tanya Peete at (404) 591-1823 or tanya@friedgoldberg.com to
        arrange payment.


If you have any questions, contact Attorney for Plaintiff
Eric J.D. Rogers, Esq., Fried Goldberg LLC, 3550 Lenox Road, NE, Suite 1500, Atlanta, GA 30326-4302
Telephone: (404) 591-1800
